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~ Do you need help representing
yourself in federal court?

Legal Help Center

“450. Golden Gate Avenue. ‘45 Floor, ‘Room 2796
| San Francisco, CA 94102 :

lf you are representing yourself or are thinking about filing a case in
the San Francisco or Oakland divisions of the U.S. District Court for

the Northern District of California, you may speak with a lawyer at the ~~
Legal Help.-Center. There is no fee for this, service. The lawyer can

give you:
* information and help you understand the federal court processes
and procedures that you need to'follow;.
e explanations of court orders and other paperwork;
e answers to your legal questions: and
e referrals to appropriate legal, social, and governments services.

Help is provided by appointment only. To make an appointment
please call (415) 782-8982 or sign up in the appointment t book located

outside the Center.
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lf you do not speak English or have difficulty with English, please bring oe

someone to your appointment Who ¢ can translate for you. We can not .
provide a translator. ° . Lo f “

If you seek help from the Center, you will still represerit yourself.
The lawyer at the Center can not be your r lawyer.

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